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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.

JOE OSTERHOUT,

Plaintiff,

v.

TCF FINANCIAL CORPORATION, GARY TORGOW,
THOMAS C. SHAFER, VANCE K. OPPERMAN,
DAVID T. PROVOST, PETER BELL,
KAREN L. GRANDSTRAND, RICHARD H. KING,
RONALD A. KLEIN, BARBARA J. MAHONE,
BARBARA L. MCQUADE, ROGER J. SIT, JULIE H.
SULLIVAN, JEFFREY L. TATE, ARTHUR A. WEISS,
FRANKLIN C. WHEATLAKE, and THERESA M. H. WISE,

      Defendants.
______________________________________________________________________________

   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS AND
                                JURY DEMAND
______________________________________________________________________________

        Plaintiff Joe Osterhout (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                  NATURE OF THE ACTION

        1.     This is an action against TCF Financial Corporation (“TCF” or the “Company”)

and its Board of Directors (the “Board” or the “Individual Defendants”) for their violations of

Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C.

§§ 78n(a) and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-9,

in connection with the proposed merger (the “Proposed Transaction”) of TCF and Huntington


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Bancshares Incorporated (“Huntington”). In connection with the Proposed Transaction, TCF

common stock holders will receive 3.0028 shares of Huntington common stock for each share of

TCF common stock that they own.

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, the alleged misstatements entered and the

subsequent damages occurred in this District, and TCF conducts business in this District.

         5.    In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

         6.    Plaintiff is, and has been at all relevant times hereto, an owner of TCF common

stock.

         7.    Defendant TCF operates as the financial holding company for TCF National Bank

which provides various financial products and services in the United States and Canada. TCF

bank has branches in Colorado. As of December 31, 2019, the Company had 520 branches,



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including 396 traditional branches, 121 supermarket branches, and three campus branches located

in Michigan, Illinois, Minnesota, Colorado, Ohio, Wisconsin, Arizona, and South Dakota. The

Company is incorporated in Michigan. The Company’s common stock trades on the Nasdaq Stock

Market under the ticker symbol, “TCF.”

       8.     Defendant Gary Torgow (“Torgow”) is Executive Chairman of the Board of the

Company.

       9.     Defendant Thomas C. Shafer (“Shafer”) is Vice Chairman of the Board of the

Company.

       10.    Defendant Vance K. Opperman (“Opperman”) is a director of the Company.

       11.    Defendant David T. Provost (“Provost”) is Chief Executive Officer (“CEO”) and

a director of the Company.

       12.    Defendant Peter Bell (“Bell”) is a director of the Company.

       13.    Defendant Karen L. Grandstrand (“Grandstrand”) is a director of the Company.

       14.    Defendant Richard H. King (“King”) is a director of the Company.

       15.    Defendant Ronald A. Klein (“Klein”) is a director of the Company.

       16.    Defendant Barbara J. Mahone (“Mahone”) is a director of the Company.

       17.    Defendant Barbara L. McQuade (“McQuade”) is a director of the Company.

       18.    Defendant Roger J. Sit (“Sit”) is a director of the Company.

       19.    Defendant Julie H. Sullivan (“Sullivan”) is a director of the Company.

       20.    Defendant Jeffry L. Tate (“Tate”) is a director of the Company.

       21.    Defendant Arthur A. Weiss (“Weiss”) is a director of the Company.

       22.    Defendant Franklin C. Wheatlake (“Wheatlake”) is a director of the Company.

       23.    Defendant Theresa M. H. Wise (“Wise”) is a director of the Company.



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       24.     Defendants Torgow, Shafer, Opperman, Provost, Bell, Grandstrand, King, Klein,

Mahone, McQuade, Sit, Sullivan, Tate, Weiss, Wheatlake, and Wise are collectively referred to

herein as the “Individual Defendants.”

       25.     Defendants TCF and the Individual Defendants are collectively referred to herein

as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       26.     On December 13, 2020, TCF and Huntington announced the signing of a definitive

agreement under which the companies would combine in an all-stock merger. Under the terms of

the agreement, TCF will merge into Huntington, and the combined holding company and bank

will operate under the Huntington name and brand following the closing of the transaction. Upon

closing, Stephen D. Steinour will remain the chairman, president, and CEO of the holding

company and CEO and president of the bank. Defendant Torgow will serve as chairman of the

bank’s board of directors. The press release states, in pertinent part:

        Huntington Bancshares And TCF Financial Corporation Announce Merger
                         To Create Top 10 U.S. Regional Bank

       NEWS PROVIDED BY
       Huntington Bancshares Inc.
       Dec 13, 2020, 21:56 ET

       COLUMBUS, Ohio and DETROIT, Dec. 13, 2020 /PRNewswire/ -- Huntington
       Bancshares Incorporated ("Huntington") (Nasdaq: HBAN; www.huntington.com),
       the parent company of The Huntington National Bank, and TCF Financial
       Corporation ("TCF") (Nasdaq: TCF; www.tcfbank.com), the parent company of
       TCF National Bank, today announced the signing of a definitive agreement under
       which the companies will combine in an all-stock merger with a total market value
       of approximately $22 billion to create a top 10 U.S. regional bank with dual
       headquarters in Detroit, Michigan and Columbus, Ohio.

                                          *       *       *



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      Under the terms of the agreement, which was unanimously approved by the boards
      of directors of both companies, TCF will merge into Huntington, and the combined
      holding company and bank will operate under the Huntington name and brand
      following the closing of the transaction. Upon closing, Stephen D. Steinour will
      remain the chairman, president, and CEO of the holding company and CEO and
      president of the bank. Gary Torgow will serve as chairman of the bank's board of
      directors.

                                        *       *       *

      Board of Directors

      At closing, five current TCF Directors will be added to the Board of Directors of
      the holding company. David L. Porteous will serve as Lead Director of the holding
      company's Board of Directors and the bank's Board of Directors.

      Timing and Approvals

      The merger is expected to close in the second quarter of 2021, subject to satisfaction
      of customary closing conditions, including receipt of customary regulatory
      approvals and approval by the shareholders of each company.

      Advisors

      Goldman Sachs & Co. LLC is serving as financial advisor to Huntington. Wachtell,
      Lipton, Rosen & Katz is serving as legal advisor to Huntington.

      Keefe, Bruyette & Woods, a Stifel Company, is serving as financial advisor to
      TCF. Simpson Thacher & Bartlett LLP is serving as legal advisor to TCF.

                                        *       *       *

      About Huntington

      Huntington Bancshares Incorporated is a regional bank holding company
      headquartered in Columbus, Ohio, with $120 billion of assets and a network of 839
      full-service branches, including 11 Private Client Group offices, and 1,330 ATMs
      across seven Midwestern states. Founded in 1866, The Huntington National Bank
      and its affiliates provide consumer, small business, commercial, treasury
      management, wealth management, brokerage, trust, and insurance services.
      Huntington also provides vehicle finance, equipment finance, national settlement,
      and capital market services that extend beyond its core states. Visit huntington.com
      for more information.

      About TCF Financial Corporation



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       TCF Financial Corporation (Nasdaq: TCF) is a Detroit, Michigan-based financial
       holding company with $48 billion in total assets at Sept. 30, 2020 and a top 10
       deposit market share in the Midwest. TCF's primary banking subsidiary, TCF
       National Bank, is a premier Midwest bank offering consumer and commercial
       banking, trust and wealth management, and specialty leasing and lending products
       and services to consumers, small businesses and commercial clients. TCF has
       approximately 475 branches primarily located in Michigan, Illinois and Minnesota
       with additional locations in Colorado, Ohio, South Dakota and Wisconsin. TCF
       also conducts business across all 50 states and Canada through its specialty lending
       and leasing businesses. To learn more about TCF, visit tcfbank.com.

       27.     On January 28, 2021, Defendants caused to be filed with the SEC a Form S-4

Registration Statement (the “Registration Statement”) under the Securities Act of 1933 in

connection with the Proposed Transaction.

   B. The Registration Statement Contains Materially False and Misleading Statements
      and Omissions

       28.     The Registration Statement, which recommends that TCF shareholders vote in

favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

(i) TCF’s and Huntington’s financial projections; (ii) the financial analyses performed by TCF’s

financial advisor, Keefe, Bruyette & Woods, Inc. (“KBW”), in connection with its fairness

opinion; (iii) potential conflicts of interest involving KBW; and (iv) potential conflicts of interest

involving Company insiders.

       29.     The omission of the material information (referenced below) renders the following

sections of the Registration Statement false and misleading, among others: (i) Background of the

Merger; (ii) TCF’s Reasons for the Merger; Recommendation of TCF’s Board of Directors; (iii)

Opinion of TCF’s Financial Advisor; and (iv) Certain Unaudited Prospective Financial

Information.

       30.     Unless and until the material misstatements and omissions (referenced below) are

remedied before the anticipated shareholder vote on the Proposed Transaction, TCF shareholders

will be forced to make a voting decision on the Proposed Transaction without full disclosure of all

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material information. In the event the Proposed Transaction is consummated, Plaintiff may seek

to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning TCF’s and Huntington’s Financial
                Projections

       31.       The Registration Statement omits material information concerning TCF’s and

Huntington’s financial projections.

       32.       The Registration Statement fails to disclose: (1) the estimated excess cash flows

that TCF could generate over the period from June 30, 2021 through December 31, 2026 as a

standalone company, and all underlying line items; (2) the estimated excess cash flows that

Huntington could generate over the period from June 30, 2021 through December 31, 2026 as a

standalone company, and all underlying line items; and (3) the estimated excess cash flows that

the pro forma combined entity could generate over the period from June 30, 2021 through

December 31, 2026, and all underlying line items. This information is material as these cash flows

were utilized by KBW in connection with its “Huntington Discounted Cash Flow Analysis,” “TCF

Discounted Cash Flow Analysis,” and “Pro Forma Combined Discounted Cash Flow Analysis.”

       33.       Further, with respect to the “TCF Prospective Financial Information” and

“Huntington Prospective Financial Information,” the Registration Statement fails to disclose: (1)

TCF’s basis for providing KBW with estimated long-term annual growth rates of 5% for TCF’s

net income and for TCF’s risk weighted assets, an estimated pre-tax cost of cash of 1.05%, and an

estimated marginal tax rate of 18.0%; and (2) Huntington’s basis for providing KBW with

estimated long-term annual growth rates of 3% for Huntington’s net income and for Huntington’s

risk weighted assets, an estimated pre-tax cost of cash of 1.05%, and an estimated marginal tax

rate of 18.0%.

       34.       The disclosure of the aforementioned information is material because it would


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provide the Company’s shareholders with a basis to project the future financial performances of

the Company and combined company and would allow shareholders to better understand the

financial analyses performed by the Company’s financial advisor in support of its fairness opinion.

Shareholders cannot hope to replicate management’s inside view of the future prospects of the

Company. Without such information, which is uniquely possessed by Defendant(s) and the

Company’s financial advisor, the Company’s shareholders are unable to determine how much

weight, if any, to place on the Company’s financial advisor’s fairness opinion in determining

whether to vote for or against the Proposed Transaction.

       35.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             2. Material Omissions Concerning KBW’s Analyses

       36.      In connection with the Proposed Transaction, the Registration Statement omits

material information concerning analyses performed by KBW.

       37.      With respect to KBW’s “TCF Selected Companies Analysis,” “Huntington Selected

Companies Analysis,” and “Selected Transactions Analysis” the Registration Statement fails to

disclose the individual multiples and financial metrics of the companies and transactions KBW

observed in its analyses.

       38.      The Registration Statement fails to disclose the following concerning KBW’s

“Financial Impact Analysis”: (1) closing balance sheet estimates as of June 30, 2021 for

Huntington and TCF; (2) the pro forma assumptions; and (3) the extent to which the merger could

be accretive to Huntington’s estimated 2022 EPS and could be dilutive to Huntington’s estimated

tangible book value per share at closing as of June 30, 2021.

       39.      The Registration Statement fails to disclose the following concerning KBW’s

“Huntington Discounted Cash Flow Analysis”: (1) the individual inputs and assumptions

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underlying the (i) discount rates ranging from 9.0% to 12.0%, and (ii) range of 9.5x to 12.5x to

Huntington’s estimated 2026 earnings; (2) the estimated excess cash flows that Huntington could

generate over the period from June 30, 2021 through December 31, 2026 as a standalone company,

and all underlying line items; (3) Huntington’s implied terminal value; and (4) the basis for KBW’s

assumption that Huntington would maintain a common equity tier 1 ratio of 9.00% and would

retain sufficient earnings to maintain that level.

        40.    The Registration Statement fails to disclose the following concerning KBW’s “TCF

Discounted Cash Flow Analysis”: (1) the individual inputs and assumptions underlying the (i)

discount rates ranging from 10.0% to 13.0%, and (ii) range of 9.0x to 13.0x to TCF’s estimated

2026 earnings; (2) the estimated excess cash flows that TCF could generate over the period from

June 30, 2021 through December 31, 2026 as a standalone company, and all underlying line items;

(3) TCF’s implied terminal value; and (4) the basis for KBW’s assumption that TCF would

maintain a common equity tier 1 ratio of 9.00% and would retain sufficient earnings to maintain

that level.

        41.    The Registration Statement fails to disclose the following concerning KBW’s “Pro

Forma Combined Discounted Cash Flow Analysis”: (1) the individual inputs and assumptions

underlying the (i) discount rates ranging from 9.0% to 12.0%, and (ii) range of 9.5x to 12.5x the

pro forma combined entity’s estimated 2026 earnings; (2) the estimated excess cash flows that the

pro forma combined entity could generate over the period from June 30, 2021 through

December 31, 2026, and all underlying line items; (3) the pro forma combined entity’s implied

terminal value; and (4) the basis for KBW’s assumption that the pro forma combined entity would

maintain a common equity tier 1 ratio of 9.00% and would retain sufficient earnings to maintain

that level.



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       42.      The valuation methods, underlying assumptions, and key inputs used by

KBW in rendering its purported fairness opinion must be fairly disclosed to TCF shareholders.

The description of KBW’s fairness opinion and analyses, however, fails to include key inputs and

assumptions underlying those analyses. Without the information described above, TCF

shareholders are unable to fully understand KBW’s fairness opinion and analyses, and are thus

unable to determine how much weight, if any, to place on them in determining whether to vote for

or against the Proposed Transaction. This omitted information, if disclosed, would significantly

alter the total mix of information available to the Company’s shareholders.

             3. Material Omissions Concerning Potential Conflicts of Interest Involving KBW

       43.      The Registration Statement omits material information concerning potential

conflicts of interest involving KBW.

       44.      The Registration Statement provides that:

       In addition to the present engagement, in the two years preceding the date of its
       opinion, KBW provided investment banking or financial advisory services to TCF
       and received compensation for such services. KBW acted as financial advisor to
       TCF (then known as Chemical Financial Corporation) in connection with its merger
       of equals with legacy TCF, which was completed in August 2019. In addition,
       KBW acted as co-manager for TCF National Bank’s May 2020 offering of fixed-
       to-floating rate subordinated notes. In connection with the foregoing acquisition
       and subordinated notes offering, KBW received fees of approximately $26 million
       in the aggregate from TCF.

       45.      The Registration Statement, however, fails to adequately disclose whether the

approximately $26 million in fees KBW received from TCF in connection with the foregoing

acquisition and subordinated notes offering encompasses all the services KBW provided and all

the fees KBW received from TCF within the past two years of the date of its fairness opinion. In

sum, the Registration Statement must disclose the timing and nature of all services KBW provided

TCF and/or its affiliates, including the amount of compensation KBW received for providing each



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service, within the past two years of the date of its fairness opinion.

       46.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

to shareholders is required due to their central role in the evaluation, exploration, selection, and

implementation of strategic alternatives and the rendering of any fairness opinions. Disclosure of

a financial advisor’s potential conflicts of interest may inform shareholders on how much weight

to place on that analysis.

       47.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             4. Material Omissions Concerning Company Insiders’ Potential Conflicts of
                Interest

       48.      The Registration Statement omits material information concerning potential

conflicts of interest involving Company insiders.

       49.      The Registration Statement provides the following concerning the composition of

the board of the combined company following consummation of the Proposed Transaction:

       Membership of the Board of Directors of the Huntington and The Huntington
       National Bank

       The Huntington board of directors following the merger will consist of eighteen
       (18) directors, thirteen (13) of whom will be the current members of the Huntington
       board of directors and five (5) of whom will be current members of the TCF board
       of directors.

                                          *       *       *

       In addition, as of the effective time of the bank merger, Mr. Torgow will be
       appointed as Chairman of the board of directors of The Huntington National Bank.

       50.      Further, the Registration Statement provides that Defendants Provost and Torgow

entered into letter agreements with Huntington “with respect to the terms of [their] service as []

advisor[s] to Huntington after the consummation of the merger.”

       51.      The Registration Statement, however, fails to disclose the details of all

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employment-related and compensation-related discussions and negotiations concerning the

Company’s officers and directors, including the parties to such communications, when they

occurred, and the specific content discussed/communicated.

        52.     The Registration Statement further fails to adequately disclose the extent to which

Huntington’s proposals or indications of interest mentioned management retention or equity

participation in the combined company during the sales process.

        53.     Any communications regarding post-transaction employment during the

negotiation of the underlying transaction must be disclosed to shareholders. This information is

necessary for shareholders to understand potential conflicts of interest of management and the

Board. Such information may illuminate the motivations that would prevent fiduciaries from acting

solely in the best interests of the Company’s shareholders.

        54.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants
        55.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        56.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Registration Statement specified

above, which failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading, in violation of Section

14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

        57.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

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such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Registration Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and

misleading Registration Statement.

       58.     The false and misleading statements and omissions in the Registration Statement

are material in that a reasonable shareholder would consider them important in deciding how to

vote on the Proposed Transaction.

       59.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

       60.     Because of the false and misleading statements and omissions in the Registration

Statement, Plaintiff is threatened with irreparable harm.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       61.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       62.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement filed with the SEC, they had the power to and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the false and misleading Registration Statement.



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       63.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

owned company, the Individual Defendants had a duty to disseminate accurate and truthful

information with respect to the Registration Statement, and to correct promptly any public

statements issued by the Company which were or had become materially false or misleading.

       64.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same. The Individual Defendants were provided with or had unlimited

access to copies of the Registration Statement and had the ability to prevent the issuance of the

statements or to cause the statements to be corrected. The Registration Statement at issue contains

the recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

Individual Defendants were directly involved in the making of the Registration Statement.

       65.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Proposed Transaction. The Registration Statement purports to describe the various issues and

information that they reviewed and considered—descriptions which had input from the Individual

Defendants.

       66.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       67.     As set forth above, the Individual Defendants had the ability to exercise control



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over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to Company shareholders;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: February 9, 2021                             Respectfully submitted,

                                                    HALPER SADEH LLP

                                                    /s/ Daniel Sadeh
                                                    Daniel Sadeh, Esq.


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